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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON


 UNITED STATES OF AMERICA                                                 3:17-CR-00068-MO

                v.                                    GOVERNMENT’S CONSOLIDATED
                                                         RESPONSE TO DEFENDANT’S
 MICHAEL BOWMAN,                                               MOTIONS TO DISMISS
                                                        COUNT 1 OF THE INDICTMENT
                Defendant.



       The United States of America, by and through its attorneys, Billy J. Williams, United

States Attorney for the District of Oregon, and Donna Brecker Maddux, Assistant United States

Attorney, submits this consolidated response to defendant’s three motions to dismiss count one

of the indictment as follows:

   •   Motion to dismiss count one for improper joinder/failure to state an offense (ECF No.

       20);

   •   Motion to dismiss count one for failure to comply with the statute of limitations (ECF

       No. 21); and

   •   Motion to dismiss count one as prohibited by the First Amendment right of free exercise
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           and the Religious Freedom Restoration Act (ECF No. 27).

           The government concedes, as currently charged, count one improperly overstates the

length of the crime of evasion of payment and therefore fails to properly state an offense.

           In response, the government plans to correct the error in the indictment and plans to

supersede with the correction the week of November 27, 2018 (one week from the date of this

filing).

           The parties are in agreement that the government’s current plan moots defendant’s

remaining arguments as to the current version of count one.

           A superseding indictment with changes to the start date of the offense may alter one or

more of defendant’s motion to dismiss theories. As such, the parties ask the Court to find

defendant’s current motions moot and cancel oral argument on the motions currently set for

December 13, 2017. Once the government secures the superseding indictment, defendant will

submit revised motions.

           Dated this 20th day of November 2017.

                                                 Respectfully submitted,

                                                 BILLY J. WILLIAMS
                                                 United States Attorney

                                                 s/ Donna Brecker Maddux
                                                 DONNA BRECKER MADDUX, OSB #023757
                                                 Assistant United States Attorney




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